                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                3:94CR111-12-MU

UNITED STATES OF AMERICA            )
                                    )
vs.                                 )                       ORDER
                                    )
DWIGHT LAMONT HUNTER,               )
                                    )
                  Defendant.        )
____________________________________)

       THIS MATTER is before the Court on Defendant’s Motion to Reduce or Modify

Sentence. After reviewing Defendant’s motion, it seems to the Court that a response from the

Government would be instructive on this issue.

       IT IS THEREFORE ORDERED that Government respond to Defendant’s motion

within twenty (20) days from the issuance of this order.


                                                 Signed: April 13, 2006




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